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as ‘AY PAR 2019R00252 .
“ IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

 

« — crmnatno. GLR-14-0559X
*
v. : (Bank Robbery, 18 U.S.C.
“ §§ 2113(a), (f))
EDWARD GMAR JOHNSON, .
Defendant. n
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INDICTMENT << ae
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COUNT ONE co ~
(Bank Robbery)
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The Grand Jury for the District of Maryland charges that: © A - : x
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On or about February 27, 2019, in the District of Maryland, the defendant,

EDWARD OMAR JOHNSON,
did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of PNC Bank, located at 426 West Baltimore Street, Baltimore, Maryland 21201, a
bank, the deposits of which were then insured by the Federal Deposit Insurance Corporation,

$2,099.00 in United States currency, belonging to and in the care, custody, control, management
and possession of said bank.

18 U.S.C, §§ 2113(a) & @)
 

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COUNT TWO
(Attempted Bank Robbery)

The Grand Jury for the District of Maryland further charges that:
On or about March 4, 2019, in the District of Maryland, the defendant,
EDWARD OMAR JOHNSON,

did by force, violence and intimidation, attempt to take from the person and presence of an
employee of M&T Bank, located at 329 West Baltimore Street, Baltimore, Maryland 21201, a
bank, the deposits of which were then insured by the Federal Deposit Insurance Corporation,
United States currency, belonging to and in the care, custody, control, management and possession
of said bank.

18 U.S.C. §§ 2113(a) & (f)

 
 

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COUNT THREE
(Attempted Bank Robbery)

The Grand Jury for the District of Maryland further charges that:
On or about March 5, 2019, in the District of Maryland, the defendant,
EDWARD OMAR JOHNSON,

did by force, violence and intimidation, attempt to take from the person and presence of an
employee of Kopernick Bank, located at 2101 Eastern Avenue, Baltimore, Maryland 21231, a
bank, the deposits of which were then insured by the Federal Deposit Insurance Corporation,
United States currency, belonging to and in the care, custody, control, management and possession
of said bank.

18 U.S.C. 8§ 2113(a) & (f)

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COUNT FOUR
(Bank Robbery)

The Grand Jury for the District of Maryland further charges that:
On or about March 5, 2019, in the District of Maryland, the defendant,
EDWARD OMAR JOHNSON,
did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of Well Fargo Bank, located at 2008 East Monument Street, Baltimore, Maryland
21205, a bank, the deposits of which were then insured by the Federal Deposit Insurance
Corporation, $974.00 in United States currency, belonging to and in the care, custody, control,

management and possession of said bank.

18 U.S.C. §§ 2113(a) & (f) -

 

 
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COUNT FIVE
(Bank Robbery)

The Grand Jury for the District of Maryland further charges that:
On or about March 12, 2019, in the District of Maryland, the defendant,
EDWARD OMAR JOHNSON,

did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of PNC Bank, located at 426 West Baltimore Street, Baltimore, Maryland 21201, a
bank, the deposits of which were then insured by the Federal Deposit Insurance Corporation,
$450.00 in United States currency, belonging to and in the care, custody, control, management and
possession of said bank.

18 U.S.C. §§ 2113(a) & (f)
 

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COUNT SIX
(Bank Robbery)

The Grand Jury for the District of Maryland further charges that:
On or about March 12, 2019, in the District of Maryland, the defendant,
EDWARD OMAR JOHNSON,
did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of PNC Bank, located at 1100 North Charles Street, Baltimore, Maryland 21201, a
bank, the deposits of which were then insured by the Federal Deposit Insurance Corporation,
$2,100.00 in United States currency, belonging to and in the care, custody, control, management

and possession of said bank.

18 U.S.C. §§ 2113(a) & (f

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Robert K. Hur
United States Attorney

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SIGNATURE REDACTED.

‘Forépersor

Date: July Z2 2019

 

 
